Case 1:17-cv-00290-JCF Documenti1-1 Filed 01/25/17 Page 1of3

Exhibit “A”

Case 1:17-cv-00290-JCF | Document 1-1 Filed 01/25/17
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IN THE MAGISTRATE COURT OF GWINNETT COUNTY, STATE OF GEORGIA
Adam Mikel Roseman

ItOe

_ Clark, Gwinnett Magistrate Court, P O Box 246

gao Marsetlles Dr

Lawrenceville, GA 30046-0246 (770 822 8100 Ext Civil Division)
Atlanta, GA 30327 Cwil Action No le
Plaintiff(s)
vs .
Allied Van Lines : INFO & FORMS ON INTERNET
www gwinnettcourts com
40 Technology Parkway South 300

Norcross, GA 30092

STATEMENT OF CLAIM
Defendant(s)

_ Telephone (Daytime number itknown otherwise evening number)

{ JsutonNote [ ] Suton Account [ x] Other __ Contract

4 The Court has junsdiction over the defendant(s) [ ] the Defendant(s) is a resident of Gwinnett County [ x ] Other (please specify)
Registered agent in Gwinnett County
2

Plamtff(s) claims the Defendant(s) is/are indebted to the Plauitiff as follows (You must include a bref statement giving reasonable notice of the
basis for each claim contained in.the Statement of Claun)

Incurred loss and damage to goods during move. Clavm filed with Alhled in November 2015 Was not offered ful] replacement value in the
QO 2 nm
event of loss and dama ods as stated in contract Now seeking to coll l replacement value of goods origi
. zs 6 lO de ag ot
_ 6 FA Bom
. ~ V4 wd GI ed
m NM Tae
>. BRS:
3 That said cl th i us Ss ZB EAT >
at said claim Is in the amount a $ 14,999 00 pnncipal - §$ interest plus Qs = Sn
costs to date “and all future costs of this surt 2 BR <om
State of Georgia Gwinrett County eC oe oS
e . mm nn ~
_A Coun A ‘ Yl ‘V2. seca being duly sworn on oath says the foregoing ts aqust and true statement of
the amount owing by defendant to plaintiff exclusive of all set offs and just grounds of defense . ,
Swom and subscnbed hefore me this . ID /
. w i? . :
4 ‘ Plaintdf or Agent
7 . ~ ¢
FE day of eae, 20 }o
2 2 (It A
2 * gent — Tile or Capacity) _
= ~ a. “ Day Time Phone Number - ov 07" toz- r ; 0
Notary PubhfAttesting Offical f - /
+e ™~. eaRwerorossese Set Gere . \
request a civil tial GAY J a : £ ]630PM evening tnals ALL CONFLICTS ARE SCHEDULED FOR 6 30 PM
P 4 NOTICE AND SUMMONS
TO All Defendant(y ee Expires Apal 9 2017 ¥
You are hereby notified that Ihe above nanan Pts :

ove na STENTS! made a claim and is requesting judgment against you in the sum shown by the foregomg statement
YOU ARE REQUIRED TO FILE or PRESENT AN ANSWER (answer forms can be obtained from the above listed web site or clerk's office) TO THIS CLAIM
WITHIN 30 DAYS AFTER SERVICE OF THIS CLAIM UPON YOU IF YOU DO NOT ANSWER, JUDGMENT BY DEFAULT WILL BE ENTERED AGAINST YOU
YOUR ANSWER MAY BE FILED IN WRITING OR MAY GE GIVEN ORALLY TO THE JUDGE Ifyou choose to file your answer orally it MUST BE IN OPEN COURT
IN PERSON and within the 30 day penod NO TELEPHONE ANSWERS ARE PERMITTED The court will hold a hearing on this claim at the Gwinnett Justice &
Administration Center 75 Langley Dr Lawrenceville GA 30046 ata time to be scheduled a
If you have witnesses books receipts of other writings beanng aon this claim you sho
documents subpoenaed see a staff person in the Clerk s office for assistance fyou have claim a
awniten answer and counterclaim If you admi to the Plaintiffs claim but need addit
financial circumstances Your answer must be RECEIVED by the clerk within 30 day
by mail file your answer in person at the clerk s office during normal business hou

Filed this x2 day of Dé

answer ts filed You may come to court with or without an attorney

2 |

»

Magistrate or Deputy Clerk of Court
of this Document '
) .

Q \Magforms\MAG 10 Civil Filing\Statement Of Claims Mag 10-01 White-MAGISTRATE Yellow-DEFENDANT, Pink-PLAINTIFF

See Instructions on Reverse Side of T,

' Aug 10

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GENERAL INSTRUCTIONS --IF YOUR CASE GOES TO TRIAL

The instructional tape, “I PRESENT MY CASE" js currently scheduled for viewing on the Gwinnett County Public
Access Channel, Channel 23, on the following days and times: Monday, 5:30 P.M. & Saturday, 4:30 P.M; In Spanish, Tuesday,
5:30 P.M., & Sunday, 4:30 P.M.. Current scheduling can be confirmed on the web-site, www.gwinnettcounty.com, click on
Calendar, click on Cable Calendar.

See the courts website, www.gwinnettcourts.com.

Additionally, you must be prepared and ON TIME. Bring all of your witnesses, documents, photographs, etc. to court
with you. {f you are late, you may automatically lose your case and you may not have an opportunity to present your side of
the issue. If you must be late, contact the court well in advance during normal business hours so that the calendar can be

properly marked.

The following may help you in preparing your claim or defense:
f=] All parties shall notify the Clerk of Court in writing of any address change, or daytime telephone number change.
All court notices come by regular mail. If you fail to provide your new address, you may miss your trial & lose your case.

| will bring the following to court to prove my case:

Written contracts, leases, [OUs, notes, and all written documents applicable to the case.

Letters and/or papers relating to the case
Bills or estimates, invoices. (The person(s) who prepared the bills or estimates should accompany you fo court)

Canceled checks

Photographs
Witnesses (Should accompany you. Notarized statements CANNOT be accepted as evidence at a trial.)

All other evidence you consider relevant,

| | will bring to court all witnesses having firsthand knowledge of my case. They have not heard evidence from someone
else. (NOTE: Impartial witnesses who have no stake in the outcome of the case are generally more believable]

E} | need to get a subpoena (order to appear) from the Clerk of Court for some witnesses to make certain that they appear.
| need to get subpoenas for the production of documents.

This case involves damage to property (for example, a car, the home, etc.) |

can describe the damage in detail and | have repair bills, written estimates of damage or repair, or other reliable
evidence to help support my opinion of the value of the property before and/or after the damage. [NOTE: a case
involving damages must always be proved by LIVE TESTIMONY]. Bring/subpoena the person to court who prepared

the estimates.

| can describe the condition of the property before the damage and | have determined what it was worth then. | have a
Bluebook/Blackbook guide or newspaper ads to help prove my opinion. | can describe with reasonable certainty the
cost of repairs. | have researched the law as to the correct measure of damages.

FOR PLAINTIFF:
. The party | have named is liable to me, (There is not a another person or corporation who really owes the money to me.

(Just because a person is an officer/registered agent of a corporation does not make that person liable.)
[EJ | can prove the amount of the complaint. I have not asked for more money than is really owed me.

it tT

FOR THE DEFENDANT:
i filed an answer/counterclaim to the Plaintiffs claim on time.

| do not owe the money because someone else is legally responsible, a third party or a corporation,
| do not owe the Plaintiff anything for some other reasons.
The Plaintiff is suing for more than the damage.

The Plaintiff owes me money and | have set forth the amount owed me in my counterclaim.
(A counterclaim must be proven to a “preponderance of the evidence’ in the same manner as Plaintiff's claim.)

| | owe most or all of the money the Plaintiff claims but | need more time to pay it. i need to set up a payment plan. | will try .
L II to work this out with the plaintiff before court, Otherwise, | will tell the judge | need a payment plan at the court date. judge

NOTE: The Magistrate Court attempts to use simple procedures but is subject to the same rules of law and evidence as any
other court. You may wish to seek legal advice from an attorney if the importance of your case warrants it. You have the
responsibility for presenting your case and this form gives only general advice which may not be adequate in your case.

MAG 10-02 Statement of Claims Instructions.wpd

